JANE VETTO, OSB #914564
Marion County Counsel
jvetto@co.marion.or.us
JOE MILLER, OSB #160851
Assistant Legal Counsel
j cmiller@co.marion.or.us
P.O. Box 14500
Salem, OR 97309
Telephone: (503) 588-5220
 Of Attorneys for Marion County, Third Party


                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION

LARISSA WHITE, ) Civil No. 6:18-cv-00550-JR
                                                 )
                                                 ) MEMORANDUM IN SUPPORT OF
                                                 ) MOTION TO QUASH
                      Plaintiff, ) SUBPOENA DUCES TECUM
                                                 )
               V.                         )
                                                 )
CITY OF TURNER POLICE CHIEF DON )
TAYLOR; by and through the CITY OF )
TURNER POLICE DEPARTMENT, a political )
Subdivision of TURNER, OREGON, )
                                                 )
                      Defendants. )



       Comes now Marion County, by and through Joe Miller, Assistant Legal Counsel, and


submits this Memorandum in support of the County's Motion to Quash the subpoena duces


tecum issued by Daniel Thenell, of attorneys for Plaintiffs, on January 9, 2019 requiring Marion


County Sheriffs Office employee Lieutenant Nick Hunter to produce any and all records in his


possession, custody or control, regarding "Larissa White, and/or Turner Police Chief Don Taylor,


and/or Turner Police Department, and/or David Sawyer from January 2015 to the present." End


1 - MEMORANDUM W SUPPORT OF MOTION TO QUASH SUBPOENA DUCES TECUM^Case No. 6:1 8-cv-
00550-JR)
01 atPg. 4. Plaintiffs subpoena was issued on January 9,2019 and received by Lieutenant


Hunter on January 14, 2019; Marion County's motion is timely pursuant to the 14 day rule of


Federal Rule of Civil Procedure 45.


    I. The Requested Information is Overly Broad


         Federal Rule of Civil Procedure 26(b) limits the scope of discovery to materials

"proportional to the needs of the case." FRCP 26(b)(l). Plaintiffs case alleges violations of her

rights to freedom of speech under the 1st and 14 Amendments of the US Constitution and


whistleblower protection under Oregon state law.1


         Lieutenant Hunter's connection regarding this matter, is that he conducted a professional


standards investigation into Marion County Sheriffs Office Deputy Chris White. This

investigation was initiated in December 2017 and was based on concerns that Deputy White may


have made untruthful statements to the City ofTumer/Tumer Police Department surrounding


events at issue in this case. Ultimately the professional standards investigation was completed


and the allegations against Deputy White were not substantiated.3


         Plaintiffs subpoena directs Lieutenant Hunter to produce all "correspondence, records,


and reports," not only regarding Plaintiff, but also the Tuner Police Department. As the Turner


Police Department is within Marion County, and the Marion County Sheriffs Office provides

law enforcement agency support to the Turner Police Department, the use of "any and all"


records is overly broad considering the allegations of this matter and the scope of the records


requested. Considering that Plaintiff has acknowledged in correspondence with the Marion



1. See Plaintiffs Complaint Page 2^1.
2. Spouse of Plaintiff.
3. These types of investigation records are protected from disclosure under ORS 181A.830, however Plaintiff
akeady has this record in her possession, rendering disclosure argument moot in this instance.


2 - MEMORANDUM IN SUPPORT OF MOTION TO QUASH SUBPOENA DUCES TECUM(Cass No. 6:18-cv-
00550-JR)
County District Attorney's Office, that Plaintiff has a copy of the professional standards


investigation, Plaintiff knows this request is overly broad. See End. 02.


       For the above reasons, the scope and duration of documents requested exceeds what is


proportional to this case. Plaintiffs Subpoena Duces Tecum should be quashed due to the over


breadth of the records requested, in violation of Federal Rule of Civil Procedure 26.


   II. The Requested Information is Unduly Burdensome to Produce


       Federal Rule of Civil Procedure 45(d)(3)(A)(iv) provides that upon timely motion, a

subpoena must be modified or quashed when the subpoena subjects the person or entity to an


"undue burden."


       The current Marion County electronic records keeping systems rely on specific search


terminology when performing searches. In order to effectuate the retrieval of some of the


requested records (specifically incident reports and email correspondence) without specific


search terminology, multiple search terms would have to be used and then a manual review of the


records would have to be performed in order to preliminarily identify responsive records. For


example, in order to search for emails between Lieutenant Hunter and the Turner Police


Department, Marion County would have to search for emails containing the phrases "Turner


Police Department," "Turner PD," "Turner," and specific email addresses or email domains. A


similar search query would be required for incident reports.


       As outlined above, searching for the ambiguous "any and all" records is burdensome


enough, but when compounded with a search for documents that significantly predates


Lieutenant Hunter's potential involvement in this matter by nearly three years (January 2015 to


December 2017), the request becomes patently unduly burdensome.



3 - MEMORANDUM W SUPPORT OF MOTION TO QUASH SUBPOENA DUCES TECUM(C&SQ No. 6:18-cv-
00550-JR)
       For the above reasons. Plaintiffs Subpoena Duces Tecum issued January 9,2019,should


be quashed on the grounds that it is overly broad and unduly burdensome. In the alternative, the


Subpoena should at least be modified to the appropriate subject matter, and to records in which


Lieutenant Hunter has firsthand knowledge of the documents requested.


       DATED this 18th day of January, 2019.




                                             X>e Miller, OSB #160851
                                             Assistant Legal Counsel
                                              Of Attorneys for Marion County



Points and Authorities
FRCP 26
FRCP 45

Enclosures
1. Plaintiffs Subpoena Duces Tecum issued January 9, 2019 (4 Pages)
2. Letter from Counsel for Plaintiff to Marion Co. District Attorney's Office dated March 28,
2018 (1 Page)




4 -MEMORANDUM IN SUPPORT OF MOTION TO QUASH SUBPOENA DUCES TECUM^Case No. 6:18-cv-
00550-JR)
                                CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing Memorandum In Support of Motion to Quash


Subpoena Duces Tecum on the following person:


Daniel Thenell David C. Lewis Richard Paul Freud
Thenell Law Group P.C. Kraemer & Lewis Kraemer & Lewis
12909 SW 68th Parkway, Ste. 290 PO Box 1469 PO Box 1469
Portland, OR 97223 Lake Oswego, OR 9703 5 Lake Oswego, OR 9703 5
dan(%thenelllawgroup. corn dlewis(%cisoregon. org rfreud(%cisoregon. org
 Of Attorneys for Plaintiff Of Attorneys for Defendants Of Attorneys for Defendants

electronically via the court's Case Management/Electronic Case File system and via First Class US


Mail on January 18th, 2019.




DATED: January 18th, 2019.


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                                            roe Miller
                                            Assistant Legal Counsel
                                             Of Attorneys for Marion County




5 - MEMORANDUM IN SUPPORT OF MOTION TO QUASH SUBPOENA DUCES TECUM(Case No. 6:18-cv-
00550-JR)
